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 5
                                 UNITED STATES DISTRICT COURT
 6                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 7

 8    UNITED STATES OF AMERICA,

 9                              Plaintiff,                  CASE NO. CR15-175 RSL

10           v.                                             DETENTION ORDER

11    MARYSA RENEE COMER,

12                              Defendant.

13          The Court has conducted a detention hearing under 18 U.S.C. § 3142(f), and concludes

14   there are no conditions which the defendant can meet which would reasonably assure the

15   defendant’s appearance as required or the safety of any other person and the community.

16          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

17          Defendant was released on bond and since then allegedly violated conditions of release

18   including being terminated from her housing placement. Defendant currently has no acceptable

19   residence to release to.

20          It is therefore ORDERED:

21          (1)     Defendant shall be detained pending trial and committed to the custody of the

22   Attorney General for confinement in a correctional facility separate, to the extent practicable,

23   from persons awaiting or serving sentences, or being held in custody pending appeal;




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 1          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

 2   counsel;

 3          (3)     On order of a court of the United States or on request of an attorney for the

 4   Government, the person in charge of the correctional facility in which Defendant is confined

 5   shall deliver the defendant to a United States Marshal for the purpose of an appearance in

 6   connection with a court proceeding; and

 7          (4)     The Clerk shall provide copies of this order to all counsel, the United States

 8   Marshal, and to the United States Probation and Pretrial Services Officer.

 9          DATED this 17th day of February, 2017.

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11                                                                A
                                                          BRIAN A. TSUCHIDA
12                                                        United States Magistrate Judge

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     DETENTION ORDER - 2
